           Case: 20-2205 Document:
Case 2:20-cv-13134-LVP-RSW ECF No.12-1   Filed: 01/26/2021
                                   101, PageID.4174           Page: 1 Page 1 of 2 (1 of 2)
                                                      Filed 01/26/21




                                           Case No. 20-2205

                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                                ORDER



 TIMOTHY KING; MARIAN SHERIDAN; JOHN HAGGARD; CHARLES RITCHARD;
 JAMES HOOPER; DAREN RUBINGH

                Plaintiffs - Appellants

 v.

 GRETCHEN WHITMER; JOCELYN BENSON; MICHIGAN BOARD OF STATE
 CANVASSERS

                Defendants - Appellees

 CITY OF DETROIT, MI

                Intervenor Defendant - Appellee



      Upon consideration of the stipulation of the parties to voluntarily dismiss the appeal herein

 pursuant to Rule 42(b), Federal Rules of Appellate Procedure,

      It is ORDERED that the motion is GRANTED and the appeal is dismissed.



                                                    ENTERED PURSUANT TO RULE 45(a),
                                                    RULES OF THE SIXTH CIRCUIT
                                                    Deborah S. Hunt, Clerk


 Issued: January 26, 2021
                                                    ___________________________________
           Case: 20-2205 Document:
Case 2:20-cv-13134-LVP-RSW ECF No.12-2   Filed: 01/26/2021
                                   101, PageID.4175           Page: 1 Page 2 of 2 (2 of 2)
                                                      Filed 01/26/21




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                   Filed: January 26, 2021




 Mr. Darryl G. Bressack
 Mr. David H. Fink
 Mr. Nathan Joshua Fink
 Mr. Erik A. Grill
 Ms. Stefanie Lynn Junttila
 Ms. Heather S. Meingast


                      Re: Case No. 20-2205, Timothy King, et al v. Gretchen Whitmer, et al
                          Originating Case No. : 2:20-cv-13134

 Dear Counsel,

    The Court issued the enclosed Order today in this case.

                                                   Sincerely yours,

                                                   s/Jill E Colyer
                                                   Case Manager
                                                   Direct Dial No. 513-564-7024

 cc: Ms. Kinikia D. Essix

 Enclosure

 No mandate to issue
